                                                                                 08/21/2024



                                                                             Case Number: DA 23-0273




           IN THE SUPREME COURT OF THE STATE OF MONTANA
                    Supreme Court Cause No. DA 23-0273
STATE OF MONTANA,

               Plaintiff and Appellee,

   v.

ZACKARY MATTHEW MAAS,

               Defendant and Appellant.


ORDER GRANTING EXTENSION OF TIME TO FILE APPELLANT’S
                  OPENING BRIEF


         Upon consideration of Appellant’s motion for an extension of time to file

his opening brief, and good cause appearing,

         IT IS HEREBY ORDERED that Appellant is granted an extension of

time to and including September 20, 2024 within which to file his opening

brief.




                                                                  Electronically signed by:
                                                                        Mike McGrath
                                                           Chief Justice, Montana Supreme Court
                                                                       August 21 2024
